












Dismissed and
Memorandum Opinion filed December 23, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-97-00526-CV

____________

&nbsp;

GERALD W. JOHNSON, M.D. and LANA
DAVIS, Appellants

&nbsp;

V.

&nbsp;

EARL NEWSOME and GAIL NEWSOME, 

Individually and as sole heirs of JILL NEWSOME, Appellees

&nbsp;

&nbsp;



On Appeal from the 133rd District Court

Harris County, Texas

Trial Court Cause No. 79-42525-H

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an appeal from a judgment signed April
16, 1997.&nbsp; On November 20, 1997, this court abated this appeal because
appellant Gerald W. Johnson, M.D. petitioned for voluntary bankruptcy in the
United States Bankruptcy Court for the Southern District of Texas, under cause
number 97-51245-H1-11.&nbsp; See Tex. R. App. P. 8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on December
9, 1999.&nbsp; The parties failed to advise this court of the bankruptcy court
action.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 18, 2010, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Jamison.





